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                                                               April 15, 2024


VIA ECF
The Honorable Judge Mae A. D'Agostino
United States District Judge
Northern District of New York
James T. Foley Courthouse
445 Broadway
Albany, NY 12207

                Re:     United States v. William Taylor (23-cr-00501-MAD-1)
 Dear Judge D’Agostino:

         I represent William Taylor in the instant indictment and write today to respectfully request
an adjournment of Mr. Taylor’s sentence date which is currently scheduled for May 7, 2024, and
a concomitant adjournment of the sentencing memos due April 16, 2024. This is our first request
for a sentence adjournment. Paul Hirsch who is counsel for co-defendant, Patricia Clarke, joins
in this request and it is made with the gracious consent of the government.

        I make this request in that we have only recently furnished the government with important
financial documents which will prove necessary in the drafting of our respective sentencing
memos. In addition, the U.S. Department of Probation Presentence Report (“PSR”) is still
outstanding and of course the PSR will be a vital document in our sentencing applications. The
defense is also awaiting other documents regarding our clients’ background and character. This
additional time will allow the parties to properly prepare and draft our sentencing memos.

         We therefore, respectfully request a sentence date after July 10, 2024, that works best for
the Court, except for the week of July 23, 2024 through July 30, 2024. I have advised counsel
for the government, AUSA Jonathan Reiner, regarding the instant application and the government
consents.

                                                              Sincerely,
                                                              /s/
                                                              Christopher Wright
